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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

 

)

UNITED STATES OF AMERICA, _ )
)

Plainttet

V Civil Action No. 20-1744-CFC

)

WALMART, INC. and WAL-MART )
STORES EAST, LP, )
)

Defendants.

 

JOINT STIPULATION AND excousiiitcre

WHEREAS, in a September 20, 2022 Order, this Court authorized the
United States of America to access “certain documents that Walmart has produced
in the MDL Repository” (D.I. 69);

WHEREAS, the September 20, 2022 Order also provided that “[u]nless
otherwise ordered by the Court at a future date, the United States of America may
not access Walmart dispensing data, deposition transcripts, expert reports, or
Walmart’s written responses to formal discovery that Walmart has produced into
the MDL Repository” (D.I. 69);

WHEREAS, the parties having met and conferred regarding the United

States of America’s request to access Walmart deposition transcripts;
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NOW, THEREFORE, IT IS STIPULATED AND AGREED, by and

between the parties, subject to the approval of the Court, that within ten days of the

date of this Order, Walmart will provide the United States of America with the

deposition transcripts and exhibits of Walmart fact witnesses that are available to

claimants in the In re National Prescription Opioid Litigation, Case No. 17-MD-

2804 (N.D. Ohio) (“MDL 2804”), which include the transcripts of current and

former Walmart employees taken in that case, as well as in other cases that were

produced to the MDL Claimants.

The remaining provisions in the September 20, 2022 Order (D.I. 69) remain

unchanged.

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SO ORDERED this _/37“day of _ Jaman , 2023
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AA OO.

Honorable Colm F. Connolly

 

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Chief United States District Judge
